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UNITED STATES COURT OF INTERNATIONAL TRADE                                            FORM 1


  LIN ENGINEERING,
                                  Plaintiff,                           SUMMONS
          v.                                                           Court No.      23-00199

  UNITED STATES,
                                  Defendant.

TO:       The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                       /s/ Mario Toscano
                                                       Clerk of the Court


                                               PROTEST
 Port(s) of
               San Francisco, etc.
                                                         Center (if known):     CEE007 - Electronics
 Entry:
 Protest        2801-23-101941, etc.                     Date Protest Filed:
                                                                                5/16/2023, etc.
 Number:
 Importer:      Lin Engineering                          Date Protest Denied:   7/19/2023, etc.
 Category of
                  Electronics
 Merchandise:

                          ENTRIES INVOLVED IN ABOVE PROTEST
       Entry            Date of           Date of            Entry              Date of         Date of
      Number             Entry          Liquidation         Number               Entry        Liquidation
 8QH21021479          12/20/2021        11/18/2022




                                                      Stein Shostak Shostak Pollack & O'Hara, LLP
                                                      865 S. Figueroa St., Ste. 1388
                                                      Los Angeles, CA 90017
                                                      Tel: (213)630-8888 E-mail: cduncan@steinshostak.com
                                                           Name, Address, Telephone Number
                                                           and E-mail Address of Plaintiff's Attorney
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                            CONTESTED ADMINISTRATIVE DECISION
                                       Appraised Value of Merchandise
                                            Statutory Basis                              Statement of Value

  Appraised:




  Protest Claim:


                                        Classification, Rate or Amount
                                            Assessed                                     Protest Claim

     Merchandise          Tariff Classification            Rate             Tariff Classification            Rate
  4611110043188         8501.10.6080(9903.88.02)        2.8% (25%)         8501.31.4000(9903.88.67) 4% (No 301 Tariff)
  4611110034878         8501.31.4000(9903.88.02)         4% (25%)          8501.31.4000(9903.88.67) 4% (No 301 Tariff)
  4611110034171         8501.31.4000(9903.88.02)         4% (25%)          8501.31.4000(9903.88.67) 4% (No 301 Tariff)
  4611110031554         8501.31.4000(9903.88.02)         4% (25%)          8501.31.4000(9903.88.67) 4% (No 301 Tariff)
  4611110031555         8501.31.4000(9903.88.02)         4% (25%)          8501.31.4000(9903.88.67) 4% (No 301 Tariff)
  4611110034172         8501.31.4000(9903.88.02)         4% (25%)          8501.31.4000(9903.88.67) 4% (No 301 Tariff)


                                              Other
  State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:
   Customs decided the motors are not eligible for a Section 301 tariff exclusion. Contrary to Customs position,
   the electric motors are eligible for a Section 301 tariff exclusion.

  The issue which was common to all such denied protests:
    Whether the electric motors are eligible for a Section 301 exclusion.

Every denied protest included in this civil action was filed by the same above-named importer, or person authorized under
19 U.S.C. § 1514(c)(2). The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid.

                                                          /s/ Christopher J. Duncan
                                              ______________________________________________
                                                                  Signature of Plaintiff's Attorney

                                              __________________________________________________________
                                                                   Date
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                                           SCHEDULE OF PROTESTS

       CEE007-Electronics
       _________________________
       Center (if known)


 Protest               Date Protest    Date Protest   Entry             Date of         Date of         Port
 Number                Filed           Denied         Number            Entry           Liquidation     Code

 2801-23-101941            5/16/2023   7/19/2023      8QH21021479       12/20/2021       11/18/2022     2801

 2704-23-166544            5/31/2023   7/21/2023      8QH22002072       1/03/2022        12/02/2022     2704

 2704-23-166835            6/14/2023   7/19/2023      8QH22002809       1/17/2022        12/16/2022     2704




(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017; June 22, 2021, eff. July 26, 2021.)
